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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                  __________     of Columbia
                                                              District of __________


             UNITED STATES OF AMERICA                             )
                             Plaintiff                            )
                                v.                                )      Case No.     1:17-cv-02511-RJL
                       AT&T INC., et al                           )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States of America                                                                                            .


Date:          04/04/2018                                                                   /s/ Julie S. Elmer
                                                                                            Attorney’s signature


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